        Case 1:21-cr-00017-JPW Document 11 Filed 02/03/21 Page 1 of 1
                                                                                    FILED
                                                                                 HARRISBURG, PA

                    UNITED STATES DISTRICT COURT                                   FEB O3 2021
                   MIDDLE DISTRICT OF PENNSYLVANIA                          PER - - - - - - -
                                                                                        DEPUTY CLERK

UNITED STATES OF AMERICA                                  Docket No: 2   /-c.1'2..- ~   r~
              v.

KENELM SHIRK,
       Defendant

                                    INDICTMENT

THE GRAND JURY CHARGES:
                                         Count 1

                      Threatening to Murder a United States Official

   On or about January 21 and 22, 2021, ii;i the Middle District of Pennsylvania,

   the defendant,

                                   KENELM SHIRK,

   did threaten to murder "Democratic United States Sep.ators" with the intent to               \

   impede and/or to retaliate against them on account of the performance of their

   official duties.    ,
                                                    --
      In violation of Title 18 U.S. C. § 115 (a)(l)(B).



BRUCE D. BRANDLER                                         A TRUE BILL:
ACTING UNITED STATES ATTORNEY



 y: aime M. Keating
Assistant United States A
